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 5
 6                      IN THE UNITED STATES DISTRICT COURT
 7                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,              )
                                            )
10                    Plaintiff,            )    2:09-cr-0258-GEB-GGH
                                            )
11             v.                           )    ORDER
                                            )    STAYING ENFORCEMENT OF PRE-
12   MUZDHA KHALIL,                         )    TRIAL RELEASE CONDITION
                                            )    REQUIRING DNA TESTING
13                    Defendant.            )
                                            )
14                                          )
     UNITED STATES OF AMERICA,              )    2:08-cr-0543-GEB
15                                          )
                      Plaintiff,            )
16                                          )
               v.                           )
17                                          )
     ZHEN SHU PANG,                         )
18                                          )
                      Defendant.            )
19                                          )
20
               On September 18, 2009, the Court heard argument on           whether
21
     enforcement of the pre-trial release condition requiring each
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     defendant to “submit to DNA testing as directed by the United States
23
     Attorney’s Office” should be stayed until further order of this Court.
24
     Each defendant challenges the constitutionality of this pretrial
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     release condition.    Since the Ninth Circuit is scheduled to hearing
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     argument on the constitutionality of imposing this pretrial release
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     condition in another case in December 2009, enforcement of this
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 1   condition in the above captioned cases is stayed; therefore, the
 2   current briefing schedule with respect to each defendant’s appeal of
 3   this pretrial release condition is vacated and the matter is set for a
 4   further status conference on Friday, February 12, 2010 at 9:00 a.m.
 5   The current appellate briefs are deemed withdrawn without prejudice to
 6   being re-noticed for hearing should it be determined that the stay
 7   should be lifted.
 8   Dated:     September 21, 2009
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10                                       GARLAND E. BURRELL, JR.
                                         United States District Judge
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